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      In The United States Court of Federal Claims
                                              No. 06-123T

                                      (Filed: January 7, 2011)
                                            __________

 EVERGREEN TRADING, LLC, by and through
 GLEN NUSSDORF AND CLAUDINE STRUM
 on behalf of GN INVESTMENTS, LLC, A
 Partner Other than the Tax Matters Partner,

                                Plaintiffs,

                         v.

 THE UNITED STATES,

                                Defendant.

                                               _________

                                                ORDER
                                               _________

       On January 6, 2011, the parties filed a joint motion for stay of proceedings to permit
defendant to consider plaintiff’s pending settlement offer. The motion is hereby
GRANTED. Accordingly:

       1.       This case is hereby STAYED;

       2.       On or before February 4, 2011 and every 28 days thereafter, the
                parties shall file a joint status report regarding the progress of
                settlement negotiations; the parties will notify the court immediately
                if settlement discussions breakdown; and

       3.       If the parties fail to show progress as to settlement, the court will
                restore this case to the active docket and expedite briefing on cross-
                motions for summary judgment.

       IT IS SO ORDERED.

                                                      s/ Francis M. Allegra
                                                      Francis M. Allegra
                                                      Judge
